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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

______________________________________
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                           Plaintiffs  )
                                       )
                    v.                 ) Civil Action No. 1:13-cv-01236 (CKK)
                                       )
                                       )
US AIRWAYS GROUP, INC.,                )
111 W. Rio Salado Parkway              )
Tempe, AZ 85281                        )
                                       )
and                                    )
                                       )
AMR CORPORATION,                       )
4333 Amon Carter Boulevard             )
Fort Worth, TX 76155                   )
                                       )
                           Defendants. )
______________________________________)


                  AMENDED MOTION OF TRANSPORT WORKERS UNION
                         TO INTERVENE AS OF RIGHT OR,
                   ALTERNATIVELY, TO APPEAR AS AMICUS CURIAE


        The Transport Workers Union of America AFL-CIO (“TWU”) is the collective

bargaining representative under the Railway Labor Act (“RLA”) for more than 23,000

employees of AMR Corp/American Airlines in seven crafts/classes and 300 employees of US

Airways in the Flight Dispatch, Flight Crew Training Instructor and Flight Simulator Engineer

crafts/classes.

        In response to the Court’s October 7, 2013 Minute Order pertaining to the absence of a

pleading accompanying TWU’s Motion for Intervention [Doc. No. 96], TWU respectfully
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submits this Amended Motion to Intervene under Fed. R. Civ. P. 24(a) or, Alternatively, to

Appear as Amicus Curiae. By this Amended Motion, TWU makes explicit its alternative request

for relief: in the even the Court denies its motion to intervene, TWU requests the Court grant it

ongoing status to appear in the instant action as amicus curiae.

       TWU’s October 2, 2013 Motion to Intervene was filed without a pleading in reliance on

Massachusetts v. Microsoft, 373 F.3d 1199, 1236 n. 19 (D.C. Cir. 2004), which questions

whether the failure to file a pleading with a motion to intervene constitutes a defect and holds

that even if it is a defect, that is “no reason to bar intervention” because “procedural defects in

connection with intervention motions should generally be excused by a court.” Id. (citation and

quotation marks omitted).1 That rationale is particularly appropriate here where, as articulated in

the Motion and Memorandum previously filed on October 2, TWU does not have an independent

cause of action or defense to plead, but does have a significant interest in the outcome of the

matter and therefore “claims an interest” under Fed. R. Civ. P. 24(a) in the subject-matter of this

litigation, which is sufficient to justify intervention even without an independent cause of action

or defense.2 Moreover, because TWU claims an interest in the proceeding sufficient to justify its

intervention substantively under Rule 24(a) but does not have an independent claim or defense,

TWU is not in a position to file a pleading; under Fed. R. Civ. P. 7(a), a “pleading” is limited to,


1
  The D.C. Circuit’s holding comports with the apparent majority of circuits on this point. See,
e.g., Westchester Fire Ins. Co. v. Mendez, 585 F.3d 1183, 1188 (9th Cir. 2009); U.S. v. Metro. St.
Louis Sewer Dist., 569 F.3d 829, 834 (8th Cir. 2009) (“Statement of Interest” provided sufficient
notice and thereby satisfied requirement); Providence Baptist Church v. Hillandale Committee,
Ltd., 425 F.3d 309, 314 (6th Cir. 2005) (abuse of discretion to reject motion to intervene for
failure to include pleading); Piambino v. Bailey, 757 F.2d 1112, 1121 (11th Cir. 1985) (noting
majority of circuits will not deny intervention because of “nonprejudicial technical defects”);
Spring Constr. Co. v. Harris, 614 F.2d 374, 377 (4th Cir. 1980)
2
  Fed. R. Civ. P. 24(a) does not require that the proposed intervener have a “cause of action,”
only an interest. U.S. v. Philip Morris USA, Inc., No. 99-2496, 2005 WL 1830815, at *5 (D.D.C.
July 22, 2005).

                                                  2
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for example, a complaint or an answer. Cf. Microsoft, 373 F.3d at 1236 n. 19. (It was unclear

“what type of pleadings the would-be intervenors could have filed in this case.”).

       However, if the Court concludes that intervention is not appropriate or that the absence of

a pleading does constitute a fatal defect, TWU respectfully moves the Court, in the alternative, to

grant TWU ongoing status to appear in the instant action as amicus curiae, as was suggested in

TWU’s brief in support of its original motion.

       In support of the Amended Motion TWU attaches hereto, as Exhibit A, its October 2,

2013 Memorandum, which identifies the reasons that warrant granting TWU intervenor-status

or, alternatively, an appearance as amicus curiae.

Dated: October 7, 2013                               Respectfully submitted,

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                                                            of America AFL-CIO

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and                                    )
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AMR CORPORATION,                       )
4333 Amon Carter Boulevard             )
Fort Worth, TX 76155                   )
                                       )
                           Defendants. )
______________________________________)


                ORDER GRANTING MOTION, IN THE ALTERNATIVE,
                        TO APPEAR AS AMICUS CURIAE


       The Court, having reviewed The Transport Workers Union of America AFL-CIO’s

(“TWU”) Motion (in the Alternative) to Appear as Amicus Curiae and the arguments in

opposition (if any) and for good cause shown, grants TWU’s Motion to Appear as Amicus

Curiae.


IT IS SO ORDERED:

Dated:________________                                  ___________________________
                                                        Hon. Colleen Kollar-Kotelly,
                                                        United States District Judge




                                             1
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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day caused a copy of the foregoing Amended Motion of

the Transport Workers Union of America to Intervene as of Right or, Alternatively, to Appear as

Amicus Curiae to be served on all counsel of record through the Court’s CM/ECF electronic

notification system.


October 7, 2013                                           /s/Jeffrey Blumenfeld
                                                          Jeffrey Blumenfeld
